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UNITED STATES DISTRICT COURT
SOUT~ERN DISTRICT OF NEW YORK
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1                   -against-                                       18-cr-820 (JSR)
I                                                        I
I                                                        I
: CESAR ALTIERI SAYOC,                                   :          ORDER
I                                                        I
I                                                       I
I                   Defendant.                           I
I_ - - - - - - - - - - - - - - - - - - - - - - - - - - .J
JED S. RAKOFF, U.S.D.J.

            This Court previously noted that it had received a                                 letter

    from defendant Sayoc that purported to clarify statements he made

during his guilty plea colloquy. The Court asked the parties to

indicate in writing by April                            9,       2019 whether they believed it

necessary to take further action.

            The Court is now in receipt of a second letter from defendant

Sayoc, dated April 1, 2019,                         in which he states that he was under

extreme stress at the time of his guilty plea and that certain

    answers he gave - relating mainly to his subjective understanding

    of the risks posed by his actions -                             were inaccurate.        The Court

    still    wishes       to    receive written                  submissions   from   the    parties,

    addressing both this and the previous letter, and the deadline for

    those submissions is extended to April 12, 2019.

            Additionally,          the Court           finds       it necessary to hold an in-

    person hearing to address these issues. The parties are therefore

    directed to appear on April 15, 2019 at 2:00pm.




                                                             1
     The Clerk of the Court   is   respectfully directed to docket

defendant's letter along with this Order.

     SO ORDERED.

Dated:    New York, NY

          April    ~, 2019               JED S. RAKOFF, U.S.D.J.




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 1    prove every essential element of each of tnese 65 counts beyond

 2    a reasonable doubt?

 3                 MR. BOVE:    Yes, your Honor.

 4                 THE COURT:    Does defense counsel know of any valid

 5    defense that would likely prevail at trial or any other reason

 6    why her client should not plead guilty?

 7                 MS. GALLICCHIO:    No, your Honor.                  d'
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10                 THE DEFENDANT:     In October 2018,   I made device that

11    were designed to look like pipe bombs and sent them through the

12    U.S. mail.      I sent a total 16 devices to people around the

13    country.      I mailed them from South Florida to George      Soro~,


14    Hillary Clinton, John Brennan, Robert DeNiro, James Clapper,

15    Barack Obama, Maxine Waters, Eric Holder, Joe Eiden, Cory

16    Booker, Kamala Harris, Thomas Steyer, and CNN.

17                 I .sent all of the 16 devices with the intent to

18    threaten and intimidate people and with the intent to injure



20                 The devices consisted of a plastic pipe with a digital

21    alarm elock and wires attached to it.         Inside the plastic pipe

22    was powder from fireworks,        fertilizer, pool shock and some

23    glass fragments.         I also put pictures of the recipients with a

24    red 'X' over their faces inside the package.

25                 THE COURT:    All right.   ls there anything else


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                      1            regarding the factual portion of the allocution that the

                      2            government wishes the Court to inquire about?
                                                                                                                                                          ''
                      3                               THE DEFENDANT:                                No, sir.

                       4                              MR. BOVE:                      Couple of issues,                           judge.
                                                                                                                                                     \·
                      5                               First, with respect to                                         Cou~ts      One through 16, the
                                                                                                             ~               .
                      6            weapons of mass destruction offenses, we ask that the Court

                      7            inquire whether the defendant intended the devices that he just

                      8            described to be used as weapons which is a component of a

-                 10
                      9            def ihi tion

                                   definition of "WMD".
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                                                                 ~   VP~   ""'   "




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                                                                      "destructive d~vice~ ~hich folds up into the

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                                                                                                                                 request we qUJ.estion.
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                 11                                   THE COURT:                       OK.           You heard the government's question?

                  12                                  MS. BAUMGARTEL:                                Your Honor,                 if I may briefly?             I

                 13                believe that the allocution we've submitted had addressed had

                 14                in the sense that he described that they were designed and

                  15               intended to look like pipe bombs and then described the

                  16               components that were

                 17                                   THE COURT:                        Do you have a copy of what he was just

                 18                reading from?

__   ..,.
                 19
                 ,..~,,...,,...~




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                                          ,,,__   -
                                                      MS. BAUMGARTEL:
                                                      ~-



                                                      THE COURT:
                                                                 -- ... ;""·-·-      ............
                                                                                                     Y~s.


                                                                                       Would you hand it up?

                 21                                   (Pause)

                 22                                   THE COURT:                        So, Counts One through 16 charge him with

                 23                knowingly using, attempting to use or threatening to use a

                 24                destructive device as defined in Title 18 U.S.C. 921,

            ..   25                specifically, improvised, explosive devices sent through the


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                           1            U.S. mail.

                          2                               Now, the defendant just said in the first se111tence of

                          3             his statement:
                                                                                                                        r .
                           4                              "In October 2018, I maae devices that were designed to

                           5             look like pipe bombs and sent them through the U.S. mail".

                          6                               So, is the question whether these were in fact devices

                           7             that could have exploded?

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                        ..--...:'"'"
                    ..,,..--:- ...     ~~~~~~~~~-                "'v>-:..   ---~
                           9            destructive device that your Honor cited in Section 921.                              The

                        10               first is cap?ble of exploding.                      And I think that the

                        11              defendant's allocution has covered that in that he described

                        12              packing explosive powder into the pipe which in turn was

                        13               capable of exploding.

                        14                                There's a second component of the destructive device

                        15              definition and I'm reading now:

                        16                                "The term "destructive device" shall not include any

                        17               device that is neither designed, nor redesigned for use as a

                        18              weapon".

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                        20               something to look like a weapon which is my understanding of

                        21              what the allocution has reached so far and the statutory

                        22              definition of "design or use as a weapon".                          And it's a

                        23               distinction that I think bears very much on the defendant's

                        24

                        25
                                         intent.

                                                          MS. BAUMGARTEL:     Your Honor,
                                                                                                                   ,,
                                                                                                       in order to meet the


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              1       elements of the statute Mr. Sayoc simply has to have threateBed

              2       to use a destructive device.                         Whether or not that item was,

              3       actually a destructive device,                        is not an element.            So,    for

              4       example, there is pretty clear                                                              \·
              5                    THE COURT:              Well, no --.Forgive me for interrupting.

              6
                                                                                 "
                      He said the following in the later part· of his al locution:

              7                    The devices consisted of a plastic pipe with a digital

-             8', · -a.lar>m clock .and .wires.•.atta@ed
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                                                                                                   pipe'
                                                                                                  . "''""'-,,. ...
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              9       was powder from fireworks,                     fertifizer,            pool shock and some

             10       glass fragments.

             11                    I also put pictures of the recipients with the red

             12       'X's over their faces inside the package.

             13                    Let's start first, Mr. Sayoc.                              You clearly intended

             14       that these would be use viewed as explosive devices,                                   yes?

             15                 ~THE      DEFENDANT:              Yes,     just viewed.

    ~.-\""   16                    THE COURT:              All right.            Did you intend that they would
    w    f
Cl....\f(y7           in fact explode?
    tO ~t;o
: \l...<) ~                        THE DEFENDANT:                 No,     sir.
"·            ~



             20                                                                                                                  u.J

             21

             22

             23       louder,    sir.

             24            ~...-::::rHE   DEF:JiN]N'JI:            I'm sorry.            I was aware of the risk
                            ~,~ ~Wlf.!>NOT' ~( CJ('Z fl1s\!1'n~':-fUf
             25                            c;-paP \=-l ~,..,. @'.l/L<L.von ~S 1'1-ar ftP /6
                      that it would explode.


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                        1                   THE COURT:    Well,    let me ask the government,              is

                        2       another question in this regard that you want tD put to the
                                                                                                           ..
                        3       defendant?

                        4                   MR. BOVE:    No, your Honor.       I think that thel

                        5       defendant's admission just now that he was aware that they were
                                                                        •f
                        6       capable of exploding.

                        7                   THE COURT:    OK.     Very good.

                        8                   MR. BOVE:    There•s a second issue,      judge.

----_...,.   -·--:- -· .. 9-.

                      10                    MR. BOVE:    And this bears,on
                                                                       ,_ the intent       el~ment              with

                      11        respect to Counts 17 through 32, interstate transportation of

                      12        explosives, as well as the Counts 49 through 64,           illegal

                      13        mailing of explosives.          And we ask that the Court inquire of

                      14        th~   defendant whether he intended that these mailings would be

                      15        used to kill or injure another?

                      16                    MS. BAUMGARTEL:       Your Honor, the element included

                      17        injure property, which he said.

                      18                    THE COURT:    So sounds to me like I'm already hearing

                      19        the arguments I am going to hear at sentence.           __     .........




                      21        injury to property, yes?            ~ ~~;t?              Pf 9§ b            @;S

                      22                    THE DEFENDANT:      ~sir.
                      23                    THE COURT:    OK.     Did you know there was a risk that

                      24        there would be in Jury to persons?

                      25                    I'm sorry?


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                                                     THE DEFENDANT:

                                                     THE COURT:

                                                     MS. GALLICCHIO:                                       He said

                           4                         THE COURT:                       I'm sorry.                    ,,    You. need

                           5         louder.         I'm an old man.                                       I barely can hear what my children

                           6         say,    let alone what you say.

                           7                         So, I think that's sufficient, yes?

                           8                        MR. BOVE:                     Yes judge.                             Thank you.



                          10                         MR. BOVE:                    No, your Honor.                                Thank you.

                          11                         THE COURT:                       Anything else on any aspect of the

                          12         allocution from either the government or the defense?

                          13                         MS. GALLICCHIO:                                       No, your Ho.nor, not from us.

                          14                        MR. BOVE:                     No, your Honor.                                Thank you.

                          15                         THE COURT:                       You mentioned each of the individuals and

                          16         to move this along I'll just repeat what your statement was .in

                          17         that regard.

                          18                         I sent a total of 16 devices to people around the

-                         19
                               --      country.                 I mailed them from South Florida to George Soros,
    "".,.._......   ~~~




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                                    _........__."
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                                     Hillary Clinton John Brennan, Robert DeNiro, James Clapper,
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                          21         Barack Obama, Maxine Waters, Eric Holder, Joe Biden, Cory

                          22         Booker, Kamala Harris, Thomas.Steyer, and CNN.

                          23                         I think under those circumstances we don't need to go

                          24         count by count, but I think we do need to go by group.

                          25                         So first, with respect to the first 16 counts which


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